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                                                                                         March 31, 2020


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                    X
UNITED STATES OF AMERICA,                                          CONSENT TO PROCEED BY
                                                                   VIDEOCONFERENCE
                      -v-
                                                                   14 -CR- 684             (     )(      )
Edwin Rodriguez              ,
                                   Defendant(s).
                                                    X

Defendant Edwin Rodriguez                              hereby voluntarily consents to
participate in the following proceeding via videoconferencing:
X      Initial Appearance/Appointment of Counsel

       Arraignment (If on Felony Information, Defendant Must Sign Separate Waiver of
       Indictment Form)

       Preliminary Hearing on Felony Complaint

       Bail/Revocation/Detention Hearing

       Status and/or Scheduling Conference

       Misdemeanor Plea/Trial/Sentence



                                                        Julia Gatto
                                                                           Digitally signed by Julia Gatto
Julia Gatto
                  Digitally signed by Julia Gatto
                  Date: 2020.11.06 12:12:41                                Date: 2020.11.06 12:15:01
                  -05'00'                                                  -05'00'

Defendant’s Signature                                   Defense Counsel’s Signature
(Judge may obtain verbal consent on
Record and Sign for Defendant)
Edwin Rodriguez                                         Julia Gatto
Print Defendant’s Name                                  Print Defense Counsel’s Name


This proceeding was conducted by reliable videoconferencing technology.


 11/6/2020
Date                                                    U.S. Magistrate Judge
